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     UNITED STATES SOCCER FEDERATION, INC.
22
23                              UNITED STATES DISTRICT COURT
24                      CENTRAL DISTRICT OF CALIFORNIA
25   ALEX MORGAN, et al.,                Case No. 2:19-cv-01717-RGK-AGR
                Plaintiffs/Claimants,    JOINT REPORT RE: DISCOVERY
26
         v.                              DISPUTE
27   UNITED STATES SOCCER
     FEDERATION, INC.,                   Date: January 31, 2020
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                                                   1
                   JOINT REPORT RE: DISCOVERY DISPUTE - CASE NO. 2:19-CV-01717-RGK-AGR
     61550002v.1
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 1                     Defendant/Respondent.             Time: 12:00 PM
 2
 3            Pursuant to the Court’s procedures and Scheduling Notice (Doc. No. 156), the
 4   parties hereby submit this Joint Report describing the discovery disputes to be addressed
 5   during the telephonic discovery conference scheduled for January 31, 2020 at 12:00 p.m.:
 6            1. Defendant’s request for leave of Court to take the depositions of two additional
 7   deponents beyond the ten allowed under Rule 30 of the Federal Rules of Civil Procedure.
 8            2. Defendant’s request to depose Meghan Klingenberg, Jessica McDonald and
 9   Sam Mewis after the close of discovery, and the parties’ agreement to schedule Ms.
10   McDonald’s deposition following the close of discovery given her commitments to WNT
11   camp, matches and play in Olympic qualifier matches.
12            3. Defendant’s representation that Russ Sauer is not available for deposition until
13   after the close of discovery, Plaintiffs’ agreement in order to accommodate his medical
14   issues and schedule, and the status of Plaintiffs’ proposed stipulation memorializing that
15   agreement.
16            4. Defendant wants to discuss the issue of whether Plaintiffs will exceed ten
17   depositions; however Plaintiffs disagree that this is a proper issue to raise with the
18   magistrate
19            5. Plaintiff’s request to schedule the deposition of third party VISA after the close
20   of discovery.
21            6. The necessity of Defendant filing a motion before Judge Klausner regarding its
22   request to take additional depositions beyond ten and whether alterations to the Court’s
23   scheduling order must be approved by Judge Klausner.
24            7. The necessity of filing a stipulation before Judge Klausner regarding
25   depositions taken after the close of discovery, and whether alterations to the Court’s
26   scheduling order must be approved by Judge Klausner.
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                   JOINT REPORT RE: DISCOVERY DISPUTE - CASE NO. 2:19-CV-01717-RGK-AGR
     61550002v.1
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 1   DATED: January 31, 2020                         WINSTON & STRAWN LLP
 2                                                   By: /s/Jeanifer E. Parsigian
 3                                                   One of the Attorneys for Plaintiffs
 4
 5
                                                     UNITED STATES SOCCER
 6                                                   FEDERATION
 7                                                   By: /s/Sharilee K. Smentek1
 8
                                                     One of the Attorneys for Defendant
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28     Sharilee K. Smentek attests that all other signatories listed, and on whose behalf this
     filing is submitted, concur in the filing’s content and have authorized the filing.
                                                   3
                   JOINT REPORT RE: DISCOVERY DISPUTE - CASE NO. 2:19-CV-01717-RGK-AGR
     61550002v.1
